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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

SAMANTHA HEAD,                          )
    Plaintiff,                          )
                                        )
v.                                      )           CIVIL NO. 4:21-cv-00916-ERE
                                        )
KILOLO KIJAKAZI,                        )
Acting Commissioner of Social Security, )
ET AL,                                  )
       Defendants.                      )

                   DEFENDANT’S MOTION TO DISMISS COMPLAINT

       The Defendant, Kilololo Kijakazi, Acting Commissioner of Social Security, hereby moves

the court to dismiss pursuant to Fed. R. Civ. P. 12(b)(6). Said motion is based on the above-cited

statute, supporting declaration, and memorandum of law.

Dated: 1/18/2022

                                             Respectfully submitted,

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                                             United States Attorney
                                             Eastern District of Arkansas

                                             STACEY E. McCORD
                                             Assistant U.S. Attorney
                                             Eastern District of Arkansas

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                                             By: /s/ Emily Carroll
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